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                  United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 22-3018                                                  September Term, 2022
                                                             FILED ON: AUGUST 18, 2023

UNITED STATES OF AMERICA,
                   APPELLEE

v.

JAMES LITTLE,
                      APPELLANT


                         Appeal from the United States District Court
                                 for the District of Columbia
                                    (No. 1:21-cr-00315-1)


       Before: WILKINS and WALKER, Circuit Judges, and ROGERS, Senior Circuit Judge

                                      JUDGMENT

       This cause came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and was argued by counsel. On consideration thereof, it is

        ORDERED and ADJUDGED that Little’s sentence be vacated and the case be
remanded to the District Court for resentencing, in accordance with the opinion of the court
filed herein this date.

                                         Per Curiam



                                                             FOR THE COURT:
                                                             Mark J. Langer, Clerk

                                                       BY:   /s/

                                                             Daniel J. Reidy
                                                             Deputy Clerk


Date: August 18, 2023

Opinion for the court filed by Circuit Judge Walker.
Dissenting opinion filed by Circuit Judge Wilkins.
